
PER CURIAM.
We grant the petition for writ of mandamus asking this court to compel the trial court to rule on petitioner’s petition for writ of habeas corpus which has been pending since June 26, 1996. See Town of Manala-pan v. Rechler, 674 So.2d 789 (Fla. 4th DCA 1996); Fla. R. Jud. Admin. 2.050(f) (providing that a judge has a duty to rule on a matter within a reasonable time). We withhold issuance of the writ, being confident that the trial court will rule forthwith on the pending petition for writ of habeas corpus.
GUNTHER and KLEIN, JJ., and GLICKSTEIN, HUGH S., Senior Judge, concur.
